 4:05-cr-03034-RGK-DLP   Doc # 17   Filed: 05/06/05   Page 1 of 1 - Page ID # 18




                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,             )
                                      )
     Plaintiff,                       )     4:05CR3034
                                      )
     v.                               )
                                      )
ALEJANDRO ROQUE RAMIREZ,              )       ORDER
                                      )
     Defendant.                       )




     IT IS ORDERED,

     Defendant’s motion for time, fling 16, is granted and the

deadline for filing pretrial motions is extended to May 10, 2005.


     Dated May 6, 2005.

                                    BY THE COURT


                                    s/    David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
